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 3
     Attorney for Defendant
 4
     Nora Garcia
 5

 6                          IN THE UNITED STATES DISTRICT COURT FOR THE
 7

 8                                          EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                                  Case No.: 1:16-CR-0009 DAD-BAM-6

10                     Plaintiff,

11   vs.                                                        WAIVER OF DEFENDANT’S PRESENCE (ALL
                                                                PROCEEDINGS) AND ORDER
12   NORA GARCIA

13                     Defendant

14                     Pursuant to Federal Rule of Criminal Procedure 43(b)(3), the Defendant having been advised of

15   the right to be present at all states of this criminal case hereby requests that this Court proceed in Defendant’s

16   absence on every occasion that the Court may permit, including but not limited to arraignment, status conferences,

17   plea, trial and sentencing. Defendant agrees that Defendant’s interests shall be represented at all times by the

18   presence of Defendant’s attorney the same as if Defendant were personal present and requests that this Court allow

19   Defendant’s attorney to represent Defendant’s interests at all times until ordered to appear by the Court. Defendant

20   further agrees that an order to the Defendant’s attorney that the Defendant’s presence is required at a particular

21   hearing will be deemed notice to the defendant of the requirement of the Defendant’s appearance at court hearing on

22   the date and time ordered to appear.

23                     As a result, the Defendant acknowledges that it is Defendant’s responsibility to know of all future

24   court dates and to stay in close contact with Defendant’s counsel prior to and immediately after Defendant’s hearing.

25   Defendant also acknowledges that Defendant is required to update the Court and Defendant’s counsel of any change

26   of address and Defendant’s counsel of any change in contact information. Defendant acknowledges that a failure to

27   abide by any of these requirements may result in this waiver being vacated by the Court.

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 1                     Defendant acknowledges that a failure to appear at a hearing or which the Defendant was ordered

 2   to appear, even if the Defendant’s counsel is unable to advise Defendant of the hearing, will result in the issuance of

 3   a warrant for the Defendant’s arrest and may result in additional criminal charges.

 4

 5                     I agree to the terms set forth above and agree to be in contact with my attorney and know that a

 6   failure to appear by me when ordered to do so, even when not present at the hearing for which I am ordered to

 7   appear, will result in a warrant for my arrest. I also acknowledge that counsel will act on my behalf including

 8   entering a plea (guilty/not guilty/nolo contendere) and be sentenced by the Court, which may include but is not

 9   limited to imprisonment and/or fine up to the statutory maximum for the offense(s), in my absence. I acknowledge

10   that I can personally appear at any hearing associated with my case if I so chose.

11

12   Dated: 2/8/16                                                   /s/Nora Garcia
                                                                     Defendant
13

14   I acknowledge the foregoing.

15   Dated: 2/10/16                                                  /s/ Richard A. Beshwate, Jr.
                                                                     Attorney for Defendant, Nora Garcia
16

17

18                                                     ORDER

19   IT IS HEREBY ORDERED that pursuant to Fed.R.Crim.P.43(b)(2), Defendant’s appearance is excused at any

20   and all criminal proceedings associated with this case until ordered to appear.

21

22    IT IS SO ORDERED.
23

24
     Dated:     February 18, 2016                                     /s/ Barbara A. McAuliffe
25
                                                            UNITED STATES MAGISTRATE JUDGE
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